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    SUPREME COURT THE STATE OF NEW
                                   YORK
    COUNTY OF NEW YORK

   Zl..ILE1K;\ POLONIA,                                         x
                                                                    inde’ No.: 11454810

                                                                    AFflDAVfT

                             -against-

   ROBERT). DLNPHY, SUSAN F, NEV
                                  INS. HERTZ
   VEHICLES. LLC. and HERTZ COR
                                PORATION.

                                          Defendani
                                                                x
  STATE OF NE\V YORK
                  )ss,.
  COUNTY OF NEW YORK)

         ZULE1KA POLONTA. being duly sworn. depo
                                                 ses and says:
                   am the claintilT in the within action.

        2.        On October 25. 2009. 1 was stopped at a
                                                           red ight on Riverside 1)ric at iis
  intersection with West 15 1 Street in the
                                            City. County and State of New York. While
                                                                                       at thts
  intersectIon, I was suddenly and unep
                                         ected1y rear-ended by the vehicle owned 1w
                                                                                     HERTZ
 VETflCLES LLC. and HERTZ COR
                                       PORATION,, rented by defendant SUSAN F.
                                                                                   NEVINS,
 and operated by ROBERT DUNPIIY,
                                                                                    _.




       3.       1 sustained serious personal injuries to my cerv
                                                                 ical spine, len shoulder, and right
wrist i\S a result of my iniuries it became
                                            necessary to undergo surgery to my leE shoulder.
Dated: New York. New York
                                                            .




        Septemnc 21 201 j                                                 -




                                                       ZULEIKA POLONJA
Sworn to before me on 09/21/11



Notary Pubhc
            ‘tONCA rftytlc
       Iky Pe, Sa &t’i ‘
          Oc. 1$2319G

              t4* itwd   ‘—
